                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:06-cr-190

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
JUSAMEL RODRIGUEZ McCREARY               )
________________________________________ )

       THIS MATTER is before the Court upon motion of the defendant pro se (Doc. No. 85) to

reconsider the Court’s denial (Doc. No. 84: Order) of his motions to rectify the record pursuant to

Fed. R. Crim. P. 36, (Doc. No. 81); for redress of grievances pursuant to the First Amendment,

(Doc. No. 82); and to correct the docket, (Doc. No. 83).

       The Court finds that the defendant has not shown that the Order should be altered.

       IT IS, THEREFORE, ORDERED, that the defendant’s motion to reconsider (Doc. No.

85) is DENIED.



                                                 Signed: May 3, 2012




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